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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed July 1, 2022
                                            United States Bankruptcy Judge
 ______________________________________________________________________



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                             LUBBOCK DIVISION

        IN RE:                                                            §
                                                                          §     Case No.: 18-50214-rlj-11
        REAGOR-DYKES MOTORS, LP, et al. 1                                 §      Jointly Administered
                                                                          §
                                     Debtors.                             §
                                                                          §

              ORDER TO TRAVIS GOODWIN TO SHOW CAUSE REGARDING ORDER GRANTING
              REAGOR-DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST’S/CONSUMER
                        OMBUDSMAN’S SEVENTEENTH OMNIBUS OBJECTION:
                              CONSUMER CLAIMS (TRAVIS GOODWIN)

                   Upon consideration of the Seventeenth Omnibus Objection: Consumer Claims [Docket No. 2453] 2

        and the Order Granting Reagor-Dykes Auto Group Creditors Liquidating Trust’s/Consumer Ombudsman’s

        Seventeenth Omnibus Objection: Consumer Claims (Travis Goodwin) entered by this Court at Docket No. 2613




        1
          The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-
        Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes
        Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC, (Case No.
        18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd (Case No. 18-50324) and Reagor Auto Mall
        I LLC (Case No. 18-50325).

        2
            Capitalized terms not defined herein shall have the meaning ascribed to them in the Objection.


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        on April 29, 2022 (the “Goodwin Claim Order”); and upon the oral representations to the Court by

        counsel for the Reagor-Dykes Auto Group Creditor Trust (the “Trust”), successor in interest to Reagor-

        Dykes Motors, LP and its debtor affiliates, and Dennis Faulkner as the Trustee of the Trust and as the

        Court-appointed Consumer Ombudsman in the above-captioned chapter 11 cases; and it appearing that

        this Court has jurisdiction under 28 U.S.C. §§ 157 and 1334; and venue being proper before this Court

        pursuant to 28 U.S.C, §§ 1408 and 1409; the Court hereby ORDERS that:

                   1.   Mr. Travis Goodwin appear and show cause before this Court, at George Mahon

         Federal Building 1205 Texas Ave., Rm 306 Lubbock, TX 79401-4002 on July 20, 2022 at 1:30 pm

         (prevailing Central Time), of any reason the Goodwin Claim Order disallowing claim no. 103 should

         not stand as entered.

                   2.   If Mr. Goodwin and/or an authorized representative of Mr. Goodwin fails to appear

         and show cause at the date and time set forth in this show cause order, the Court will entertain no

         further proceedings regarding the Goodwin Claim Order.

                   3.   Service of a copy of this show cause order upon Travis Goodwin or his counsel by

          electronic mail within two (2) business days of its entry, together with service via United States

          Mail, first class, postage prepaid, on or before July 6, 2022 shall be deemed good and sufficient

          service of this show cause order.

                   4.   This Court shall retain jurisdiction to hear and determine all matters arising from or

          related to this show cause order.

                                                  ### End of Order ###




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        SUBMITTED BY:

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        AUTO GROUP CREDITORS LIQUIDATING TRUST,
        SUCCESSOR IN INTEREST TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.




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